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                                                                                                     AMERICAN JOURNAL OF INDUSTRIAL MEDICINE (2008)




                  ,Brief Report


                           ,Environmental Exposur~, t.o Libby Asbestos'
                                      and: Mesotheliomas
                                AlanC. Whitehouse, MD, FCCP, h C. Bra'dford Black, 'MD, I Ma~k S. Heppe,' MD, I
                                     "      JohnR'uckdeschel, MD.,2 and'$tephen M. Levin 3t        ,     '      ,


                                               Background Thirty-one cases ofmesothelioma resultingfrom exposure'to LibbyAsbestos
                                               have been identified from Libby, Montf;lna. Eleven cases not previously repqrted are the
                                               subject ofthisreport.'"                                                              '
                                            ,'Methods'These cases' are in nqn-9c,cupanonally exposed people, 'appearing to have
        ,." ,,~ ........ ~-,- ,-,:.-, ..- ...,~SJdte4.friJm"expf1S.ure to contamination ofthe ciJmniunit)l',-tlie,surrou11din.gjorested.Area, _
                   ,                          and areas in proximity to the Kootenai river and railroad tracks used·to haul venniculite..
                                             'ResuI~ 1"hese exposures are consideredto be ofa low degree ofmaWtilUde, braare similar
                                          , , to those in Western AUstralia's .croci40lite mine at Wittenoom Gorge. An epidemic of
                                              mesothelioriut.cim likelY-be eipectedjrom this type ofasbestos contalilination over the next
                                             2Q plus ye.ars. Am. J. Ind. ·Med. 2008. @ 200"8 Wiley-Liss, inc.             '
                                  KEY woiws: ,tremo-lite,' winchitejrichteritej·mesotheliomaj f1$bestos;
                                  pleural cancer; asbestos pleural disease; vermiculife,; Libby'
    )

              INTRODUCTION                                                                                 26% amphibole asbestos, originally believed to be tremolite;
                                                                                                           but more recent analysis inqicates' the asbestos 'is a
                       McDonald et al. [2004J desctibed 12 confumed cases of combination of 84% wiIichite, 1-1 % rkhtente and 6%
              ,m,~sotheliomaoccurring before 1998 in former employees of tremolite [Meeker et al., 2003 J~ Agency for Toxic Slih~tanCes
              the W;R, Gr.ace Company (WRG). The company operated the and Disease Registry (ATSDR)· documents confirmed
              world's largest venlticulite ririne near Libby, MT, from 1963 contamlt;1ation of the tOWn"ofLibby, Mr, along the Kootenai
            , to 1990. The mine waS operateciby the original Zonolite River and the surroundirig envitonmen~ [ATSPK .2000].
              Corporation from the 19208 until purchasedby WR. Grace in , Verrirlculite ore was given by WRG free of charge to the
              1963. The ver:miculite ore bed was contaminated with up, to people of Libby and was extensively, used in' gardens,
                                                                                                          driveways, little league ball fields, and the high school track. .
                                                                                                         Expanded vermiculite, (Zonolite) insulation was used
                                                                                                        ,extensively in the lumber mill. Many attics and walls of
                                                                                                         homes in Libby are insulated with vermiculite. The finished
                 "Dt Alan Whitehouse has served as an expert witness In United States v, WR Grace and
             related Bankruptcy'Proeeedlng5."                    .'                                   '  vermiculite     product contains 2-6% aSbestos [Arnandus
           , 'ce'nter for Asbestos Related Disease. Ubby, Montana                                        et aI.; 1987). <:ases ofpleural disease among people exposed
                '2S arbara Ann Karmanbs Cancer InStItute. Detroit, Michigan                              only environmentally (non-occupationally) have, been docu-
                 3Departrnent of Community arid Preventive Medicine, Mount Slnal.School of Medicine,
            New York, New Yorl<                           '                                              mented previously by ATSDR [2002J. Environrnenta1leVeis
                t Associate Professor..                                                                  of asbestos recorded by WRG in 1975 ranged from 1.0 to
                Contract grant sponsor:·COC; Contract grant number: 875; Contract grant sponsor: CCH;    1-.5 fibers/rnI air, [Grace, 1975J. Sullivan [2007J reported that
            Contract grant number. 524709-01.
               *Correspondence to: Alan C.Whltehouse,123 e3rd, Ubby. MT 59923.                           15 cases of mesothelioma were documented in WRG
            E-maIl: a1anwhltehouse47@gmaiJ:com                               '                          workers as of 2001. We report an additional I 1 cases of
                                                                                                        mesothelioma that have been documented among non-
               Accepted 12 June 2008,
                                                                                                        occupationally exposed people by the Center for Asbestos
)              DDI10.1oo2laJ/m.20620, Published online In Wiley InterSclence
           (wwwJntersclence.wiley.com)                                                                  Related Disease (CARD) in Libby,

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                                                                                                                                                                 EXHI,BIT
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      )              METHODS                                                                       RESULTS
                                    r h.e Center for Asbestos Related.Disease in Libby, MT,           The details regarding the clinical and'exposure statuS of
                             . serves 'as a focal point for diagnosis and treat:n:).ent of the two family contact cases and nine ·environmental .
                             . asbestos-related diseases in the region.. CARD has become exposiJre cases are described below and i.n Table 1. .
                               aware of 15 cases ofmalignant mesothelioma since 1995 that             Casll: This 65-yeaI~0Id male jived in Libby from 1941
                               were not included in the studies by McDon;Ud et al. and to 1959.Hisfath~rworkedattheZonolitefacilitythroughOut
                               Sullivan' noted· above. These cases fuclude four· WRG that time period. He also hadpossibleexposure to asbestos as
                               employees (defails not .reported here), .two family members a construeti'on worker for many years, but worked mainly in
                              ofWRGworkers and nine pw:elyenvironmental cases among residential construction and was uncertain about the extent of
                              Libby resid~Iits. The two family. cases· and ·nine environ~ contact. with asbestos-containing materials' on the job.
                          . . mental cases have appeared' since 1995. and were treated at 'Zonolite w.as used in the garden and atti,e:of.his cIiildhood
                              ~e.CARD clinIc or by one of¢.e coauthors of this report. The home in Libby. Hi~ mesothelioma was diagnosed in 2006.He
                           . additional four cases were reported to the authors by CUlTent is alive·as of this writing.                     ..         ..
                              or fonner res.i,d~nts 'of ~ibby. Occupational. and environ-            Case 2: A 52-year-oldwoman. died in 2003 ofp~rttoneal
                             menta,!, expos~ehistories were· obtained from          the
                                                                                     patients' mesothelioma diagnosed in 2000. S~e was employed at a
                             and .CARD records and supplemented. by next-of-kin~ The . private medical and dental office ill Libby from 1971 to·
                      . exposUre'histOry of Case 5' was obtamed froin the .patient's 1983. SherepQrted "that.her·car was covered with dl,lSt ona
... . .- ' ..'-:--...:... -:widow-·on!:y:c-f'ami:1y··-phys:icians-were- contacted· to· obtain -daily basisafterworIc Herworkplacewas 5 iniles southwest
                             pathology reports; ·death certificates and, any other ~f the WRG mfu.e and 1 miIenorth. cif Libby. Many of the
                            pertinent information that· was not available at CARD, patients where she worked were WRG employee~ who were'
                            Pathology reports of biopsies were obtained on all subjects· Seen after a work.shift. She had no Dt.her kUown exposure to
                         . except one case. .                     ....                         asb.estos.




      )          TABLE I.· ExpDsure and Pathology Data on 11 Cases Df Mesothelioma, Ubby, Montana

                                                                                     Number
                                                                                    of year.     .Calendar
                                                                .Yearot     .Ince                  yaaflot       Dur8t1onof
               . C8la                 Age/ve~r at"     Yaarof . Initial· . Initial                ex'po.ura      8xpo.ura            .Sourc:B{.)
                number       Sax       lHagnoils       dS8th    exposure exposure                  (y88r.)        (ve8'.)          alsIP.oslire          Pathology·
                                                                                                                                                                        ...-   .,._-~._-_   ..   ":'-.~'   .
                 1           M          65/2006·        Alive         1941            65         1941-1959          18        . Resid811JFamll~1         Epithelial .
                                                                                                                                  Gol1!tructlon
                                                                                                                                  trades
                2           F          52/2000          2003         1971             29        1971-1985           17         Resldfnt                 Ep~hellal(p)
                                                                                                                                                      .. b
                3           M          7111993          1995         1980             13        198O-19S6            6         Resldfnt
                4           F          48/1999          2000         1963             36        1963-1965            2         Family/Aluminum          Epithelial
                                                                                                                                  Plant
                5           M          8112003         2004          1960            44        . 196o-unknown,    10+          Resldent/Recreatlon!     EpltMllal
                                                                                                 19~4-2004 .                      US Celast Guard!
                                                                                                                                  Carpenter
                6          F          48/1996          1998         1944              52       1944-199S           54         Resident                  Epithelial
                7          M           70/1998         1998         1945             67        1931-199S           67         Resident                  Epl~hellal
               8           M·         82/2002         2002          1960             42        1960-1970         . 10         Resident                  Epithelial
               9           F          59/1995         Alive         1973             22        1973-2007           34         Resident ..               Eplt~elial .
              10           F          79/2002         2002          1950             52        1950-2002           52         Resident                 Epithelial
              11           M          72/2000         2002          1968             34        1968-1976,          26         Resident                 Epithelial
                                                                                               1984-2002

.)            "All were pleural mesothelioma except # 2(peritoneal mesothelioma).
              bNot available due to 13 years hiatus since death.
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                                                                                                          Libby Asbestos and Mesotheliomas                  .3

     ).                          Case 3: This 71-year-old male was diagnosed with                     Case 9: This 71-year-old female was diagnosed with
                            mesothelioma in 1993 and diedof the disease in 1995. He mesothelioma in 1995 and re-biopsied in 2602 to confinnthe
                            Jived in Libby for 6 years from 1980 to 1986. He had one di.agnosisbecauseC)funusually~cmgsurvivalandresponsive·
                           guided tour of the WRG mine, bilt otherwise had no other . ness to chemotherapy. She remains alive in 2007. She lived
                           known exposure to asbestos other than by virtue of his 40 miles outside of Libby, but shopped in Libby and caDle
                           residence in Libby. He was an office employee of the forest into town fi:equently from 1973 to 1987. She spent
                           service, and his father'did not live or work in Libby, His wife approximately' 300 days in Libby during that period. She
                                                                                                                                   to
                          h~ asbestos-related pleUral disease, again following only .. had no other identifiable exposure asbestos..
                          residential exposUre. His personal phy~ician provided                      Case lO~ A 79-year-old woman. a school nurse, diedof
                          medical records documenting the diagnosis, but the oliginal . mesothelioma in 2002. She lived in Libby from 1950 until her
                          pathology report· was lost so the cell type could not be death. She worked as a school'nurseforthe school district for
                          determined.        .       .                          ' . marly years. Her husband was a forester who may hav!} been
                                Care A: This female died in 2000 at the age of 49 of " exposed to asbestos.                         .
                       . mesotheliomadiagn,osedin 1999. She lived approxiIriaiely 100               Case 11: This n-year-oid'male lived t;lear Libby along
                        iniles'east of Libby. Her father worked'at the Zonoiite mine' the Kootenai Riverab'out 2 miles below the screening'plant
                         from. 1963 to 1965 and came home on weekends, when the' and conveyor; He worked at Libby Dam and drove past the
                        patient laundered his work clothes. Herfatheralso worked screening 'plant .daily from 1973· to· 1976. He died of
                .       interinittently ataT;l aluminum plant in Columbia Falls, MT, . mesothe1ioma in 2002. He had no other knOwn exposure to
    .:- ... :-- ~'-'which may have-entailed 'exposure to' asbestos. .                   ..·.. -asbestos-,----....:·.·-··:----·---: ""- -....- .. ".-"...  . .. - . - .... -
                            . Care 5: Thiselderiy male was age 81 at the time of his                Table! lists age, exposures, and mesothelioma cell tYpe
                        diagnosts. The patient lived in eas.tern Washington and for each case.
                        vacationed in Libby nearly every summer in the 1960s to                    The range of latency of these cases is 13~67 years from
                       fish on the Kootenai River d.ownstreama short dlstance . first knoWn exposUre to asoestos in. Libby. The youngest'
                       from the vermiculitethe vennicillite transfer site: the WRG' patient'in this series was 48 years of age at diainosis.
                       conveyor extending across .the river from the screening                                                .
                      plant to the rail·loadi:p.g yards; He ultimately moved to DISCUSSION'
    )                 Libby in the mid-1990. The diagnosis of mesothelioma
                      was made in 2003, and he died in 2004. He. also may                          Mesotheliomahas~nshowntooccurinfamilymembers
                     .have ~adexposureto asbestos in the U S Coast Guard at the 'of asbestos workers as well as in people living near asbestos
                      eI!-d of wwn. Asa lifelong carpenter, he is likely to have facilities.. Wagner et 'aI.· [1960] described 33 cases of
                  . had exposure to aspestos in ·his ·work. Relevant to his mesothelioma in South Africa;~2 of whom appeared to be
                     exposure iil Libby, it is of'use to note his widow has eilVironmental in origil:i. Newhouse' and Thompson [1965]
                     develop~ diffuse calcified pleural thickening and had no reported 36 cases of mesothelioma occurring In London in an
                   . identifiable exposure to asbestos except during her area around an .asbestos ·factory. By 2002, the Australian
                     residence itl'·I:.ibby;-~" -- --:_..... ",...:......-._- _.. ".       mesothelioma-registry·deoumented· 203 cases with.no known
                             Case 6: A 48-year-oldwonlan who' lived lifelong in' histoly ofasbestos exposure; but with very careful histOries, 57
                   Libby died in 1998 of mesotheIioma,ciiagnosed 2 years . of those were discovered to have some.hi~toryofexposure.
                    preViously. She ).ived near the contaminated ball fields and Nineteen percent ofthe 203 had no exposure'history that cOuld
                    railroad tracks, played as a child on piles of vermiculite ore, be identiiied [Leigh and Driscoll, 2003]. Overall, 8i % of the.
                    and popped vermiculite on the ~tove. Zonolite insulationwas 203 had high asbestos fiber coUnts in tissile specimens [lligh
                   In the ceiling of the home where she lived during the last . andDriscoll,2003],suggestingpriorenvironmentalexposures.
                   25.years ofher life.                                                          .ATSDR has documented environmental exposures caus-
                           Case 7; This was a male who was diagnosed at age 68 ing asbestos-related pleural disease among Libby residents
                   anddiedatage70in 1998.:Heworkedfortherailroad, sealing [ATSDR, 2002]. Cases of mesothelioma attributable to
                  railcars leaving Zonolite facilities in 1945 and 1946. He lived enviromnental exposures in Libby, have been identified only
                  next to the expansion plant from 1954 to 1956 and had since 1995; a considerable period after the severe pleural and
             . , Zonolitein the garden and attic. From 1976 to 1981, he parenchymal disease secondary to asbestos exposure was
                  worked In a bowling alley, which WRG workers frequented described in WRG workers [Ama.l1dus et al., 1987].
               . after work.                                                                     The backgrol;lnd rate qf mesothelioma is described as
                          Cases 8: This elderly man was diagnosed and died of 1. case per million person years [Roggli et aL, 1998]. The
                  mesothelioma in 2002, at age 82. He lived in Libby for 9 environm.ental and 2 household-exposed cases described
                  10 yearsfi-om the early 1960s, across the Kootenai River herein are in excess of expected, given the population of
                 from. the expansion and bagging plant. He had no other Central Lincoln County of 9,521 [Peipins et al., 2003].
)                known exposure to asbestos.                                             Eleven cases is probably an underestimate ofthe true number
.'.
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                     of malignantmesotheuomas for many reasons including the REFE'RENCES .'
                     inability to follow the many workers on the Libby-dam
                     project from 1966 to 1974 (l mile northeast of the mine) who AmandusHB, wheelerR, JankovichJ, ThckerJ. 1987. The Morbidily
                     had had significan.t exposQre and who had left Libby after and Mortality of Venniculite Miners and Wllers Exposed to 'Ii-emolite·.
                                                                                           Actinolite: Part I and If. Ani JInd Med 11:1-26.
                     completion· of the dam. as well      as   the large numbers of                                   ..           .
                    .empl?yees of the lumber mill (approximately 1,200). who Agency ·for To;oc Substances l!'ld Disease Registry. 2000.' Heallh
                                                                                          ~onsultation: Libby Asbestos Site. December 12.        .
                 . were frequently transitory' workers. For the above reasons               .
                    and the .f.ai.lure. to learn of all mesothelioma c'ases .in people Agency. for Toxic Substa.n~es and Disease Registry. 2002. Re~ew of
                                                                                          AsbestoS-Related Abllonnalities among'a Group of Patienlll from
                    who left Libby, mesothelioma rates based on currently .Libby, Montana.. Available froin National .Technical rD.fonnation.
                                                                an
                    identified cases ciUl only be considered underestimate.               Service, Springfield, VIrginia. Request publication number PB02·
                         The closest compariSon 'to . the Libby setting is the 107378.
                  .mesothelioma experience ofthe Wittenoom Gorge crocidolite Grace WR. 1975; doc~ment, Sourc"e Emissions, Results of Surveys.
                   mine in Western Australia The blue asbestos nllne operated (unpublished~.                                          .       ..
                   from 1943 to .19.66. As of200~, 254 cases'ofmesothelioIlJA have Lejgh J, Driscoll T. 2003. Mlllignant Mesotheliomain AustniIja, 1945-
                  been repOlted in mine workers and residents of the town [Reid 2000. lilt J O~up Enyiron Health 9:206-217,
                . et al.,2007]•. Sixty~seven cljSes are ~ported among Wittenoom McDonald rc, McJ;)onald .AD; 2004. Mortality in a Cohort of
                  residents who were not mi,ners [Rei.d et al., 2007.J, represen.t:fug Vennil:ulireMiners Exposed·to Fibrous Amphibole in Libby, Mon~ .'
                                                                                         J Occup Environ.Med 61:363-366.
                  a nUx offamily and residential environmentill cases..
                  .. T h .'e -estimated.ex:...po~.f0E' Wittenoom-Ees.iden..t~ was .. 'Morp1iology~f1lIl'II5hitlOleTftonrth~
                                                                                         MeekerGP, Berti AM. B~wn..fieldIK,Rllinytieekcomplex.,
                                                                                                                                 ~taL 2003, The ~mposition     and
                                                                                                                                                       miSt Libby,.
                  1..0 fibers/ml in ambieljlt i:lir from 1943 to 19.57 and 0.5 fibersl Montana. Am Mineralogist 88: 1955-1969.
                 mll}mbient.a.ir iri 1996. WRG measured l.lfiber/ml atthe NewhouSe ML, Thompson H. 1965. Epidemiology of Mesothelial
               . hospital in downtown Libby a.nd 1.5 flbers/minear the lumber Twnors in the London Area. Ann NYAcad Sci 132:579:-602.
              . mill ~d railyards in 1975 [Gra.c:e, 1975J.Those levels were peiPinsLA,LeWiIiM,CampolucciS,LYbargerJA.MmerA,Midd1etO~
                 obtairiedwithphasecontrastmicroscopy; no other details are' D. Weiss C, Spence M, :Black B. Kapil v.. 2003. Radiographic
               .known. Wittenooin town exposures appear OIl, the surface to abnoqna1ities and exposure to asbestos-conialninated veimiculite in
                be. of. a similar. ma01,itude as experienced. by the 11 recent' the CommUJlilY. of Libby, Montana, USA. Environ Health Perspect .
                                          0-                                            111:1753-1759;"
                cases reported l1ere from Libby. Wittenoom mine closed
      )                                                                            . . Reid A, Berry G, de Klerk N, Hansen r,Heyworth Jt AmbrOsini G,
                arounq 1966, near ~e time WRG began la~ge scale Fritschi L, Olsen N, Merler E, Musk AW. 2007. ~ge and sex differences
               production in Libby [1963]. Exposure to'Libby as1;>estos of· after residential exposure to· blue asbestos (CrQcidolite). Chest
               unknown.magin.tude continuedpast·1990. The laten9Y p~riod 131 :376-382.                                                 . ..
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               in :Libby has therefore not nearly been completed and the women. In: Rosen PP, Fecmler RE:editors, A.1J.!itDmicpathology, Vol. 2.
               extent ofthe epidemic qfenvironmental mesotheliom~ due to Chicago, 11: ASCP Press, pp 147-163.·                             . .
            . exposut.es based atLibby will probably not peak for another SulliVlUl; P. 2007: Vetmiculite, re~iratorY disease and asbestos exposure
                                                                        .              in Libby, Montana: Upda~!l of a ~ohor1; mortality study. Environ Health
          . '. 10 -2Ayears..-1'llilHs-apuGliG-heal.th:pr-riblem.ofeoasiderabIeperspect lf5(4):579:"'58J.·-·                 _._-- "'-    _. ,      - ..- ..-:._. _    _.
              magnitUde and points to theneed"for suiveillanceand early'                                                           . '
                                                                                      .Wagner J, Sleggs C, Marchand P. 1960. Diffuse pleural mesotlielioina.
              detection of the disease, in the hope that the mortality from and asbestos exposure in the No!1hWestem CapeProvince. Br JIrie! Moo·
              mesothelioma in Libbycan be reduced. .                                   17:260.        .      .




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